      Case 18-00728-SMT         Doc 116     Filed 08/16/19     Entered 08/16/19 11:44:42         Desc Main
                                     Document
The order below granting the motion for              Page
                                        relief from the    1 of 2
                                                        automatic
stay is hereby signed.

The court ruled at a hearing of June 6, 2019, that the motion would
be granted but inadvertently did not sign the order until now. The
automatic stay has already terminated by reason of the dismissal of
the case, but if that dismissal order were vacated, relief from the
stay would be in effect pursuant to this order.
                                                                               _____________________
It is further
                                                                                S. Martin Teel, Jr.
ORDERED that this order is not stayed under Fed. R. Bankr. P.                   U.S. Bankruptcy Judge
4001(a)(3).

Dated: August 16, 2019.




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLUMBIA
       IN RE:

       Lorie Lynn Rones, DEBTOR                           CASE NO. 18-00728-SMT

       Walter L Peacock, NON-FILING CO-                   TRIAL DATE: June 6, 2019
       DEBTOR

       Nancy Spencer Grigsby, TRUSTEE                     CHAPTER 13


                            ORDER TERMINATING AUTOMATIC STAY
                   Real Property at 2922 Pennsylvania Ave SE, Washington, D.C. 20020

               Upon consideration of the Motion for Relief from Stay filed by the Movant, HSBC Bank
       USA, National Association, as Trustee for Nomura Home Equity Loan, Inc., Asset-Backed
       Certificates, Series 2006-FM2, Movant (Ocwen Loan Servicing LLC), Servicer, the Debtor's
       response thereto, and the court having held a hearing on June 6, 2019 at which it determined that
       cause to terminate the automatic stay existed pursuant to 11 USC §362(d)(1) and (d)(2) and
       1301(c), it is:

              ORDERED, that the stay of 11 U.S.C. Section 362(a) and 1301(a) be and hereby is
       terminated so as to permit the Noteholder, or its assigns, to enforce its rights under the provisions
       of the Deed of Trust, and/or to resume or commence foreclosure proceedings under the



       17-800062
Case 18-00728-SMT         Doc 116     Filed 08/16/19 Entered 08/16/19 11:44:42              Desc Main
                                     Document     Page 2 of 2



 provisions of the Deed of Trust dated May 9, 2006, and recorded among the land records of the
 District of Columbia as Instrument Number 2006071336 and secured by the real property of the
 Debtor at 2922 Pennsylvania Ave SE, Washington, D.C. 20020; provided, however, that any
 surplus proceeds from the foreclosure sale, after the satisfaction of Movant’s debt and payment
 of sale costs, shall be paid to the trustee for distribution through the bankruptcy estate; and, it is
 further;

         ORDERED, that this relief shall apply to proceedings for possession of the real property
 after the foreclosure.


 PARTIES TO RECEIVE COPIES:

 Lorie Lynn Rones
 2920 Pennsylvania Ave SE
 Washington, D.C. 20020

 Walter L Peacock
 2920 Pennsylvania Ave SE
 Washington, D.C. 20020

 Copies were sent electronically via the CM/ECF system to Nancy Spencer Grigsby, Trustee.




 17-800062
